                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 MAXWELL KADEL, et al.,

                            Plaintiffs,

                       v.                            Case No. 1:19-cv-00272-LCB-LPA

 DALE FOLWELL, in his official capacity as
 State Treasurer of North Carolina, et al.,

                            Defendants.


                       PLAINTIFFS’ MOTION TO
            EXCLUDE EXPERT TESTIMONY OF DR. PETER ROBIE

      Pursuant to Federal Rules of Civil Procedure 26 and Federal Rules of Evidence

104, 403, and 702, and for the reasons set forth in the accompanying Memorandum of

Law, Plaintiffs respectfully move this Court to exclude the testimony of Dr. Peter Robie,

a disclosed expert of Defendants Dale Folwell, Dee Jones, and the North Carolina State

Health Plan for Teachers and State Employees.




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Dated: February 2, 2022                  Respectfully submitted,


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* Appearing by special appearance pursuant to L.R. 83.1(d).




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                            CERTIFICATE OF SERVICE
       I hereby certify that the foregoing document was filed electronically with the

Clerk of Court using the CM/ECF system, which will send notification of such filing to

all registered users.

Dated: February 2, 2022                          /s/ Deepika H. Ravi
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